     Case 2:18-cv-03869-JAK-JEM Document 14 Filed 06/06/18 Page 1 of 5 Page ID #:225

                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA


                                         CIVIL MINUTES – GENERAL

    Case No.     LA CV18-03869 JAK (JEM)                                         Date   June 6, 2018
    Title        Juliana Lu v. Central Bank of Republic of China Taiwan et al.
	




    Present: The Honorable            JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                     Andrea Keifer                                         Not Reported
                      Deputy Clerk                                   Court Reporter / Recorder
              Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                        Not Present                                          Not Present


    Proceedings:            (IN CHAMBERS) ORDER RE ORDER TO SHOW CAUSE RE DISMISSAL
                            AND PRE-FILING APPROVAL JS-6



I.          Introduction

On May 9, 2018, Juliana Lu (“Plaintiff”), who is self-represented, brought this action against the Central
Bank of Republic of China (Taiwan) (“Central R.O.C. Bank”), Taiwan (“Republic of China”), the Hypothec
Bank of Japan and Japan (collectively, “Defendants”). Complaint, Dkt. 1. The claims arise out of
allegations that the Central R.O.C. Bank has refused to redeem bonds owned by Plaintiff. In light of the
dismissal with prejudice of two previous actions brought by Plaintiff based on substantially similar
allegations, on May 17, 2018, an Order to Show Cause re Dismissal and Pre-Filing Approval (“OSC”) was
issued in this action. Dkt. 11. The OSC directed that Plaintiff show cause by June 11, 2018, why this
action should not be dismissed as a successive and duplicative one. On May 24, 2018, Plaintiff filed
documents in response to the OSC. Dkts. 12, 13. They present restatements of certain allegations made
in the Complaint and in the prior actions.

For the reasons stated in this Order, this action is DISMISSED, with prejudice, and Plaintiff is designated
as a vexatious litigant as to the matters presented in this action, and is now subject to the pre-filing
requirements set forth in this Order.


II.         Background

On January 12, 2012, Plaintiff filed an action in which allegations substantially similar to those made here
were advanced, many of the same defendants were named, and similar relief was requested. Juliana Lu
v. Central Bank of Republic of China Taiwan, et al., LA CV12-00317 JAK (RZx) (“First Action”). The First
Action was dismissed with prejudice after Plaintiff made several unsuccessful attempts to establish
subject matter jurisdiction under the Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C. §§ 1604 et
seq. First Action, Dkts. 60, 85, 109. The Ninth Circuit affirmed that decision on July 28, 2015. First Action,
Dkts. 114, 118.


                                                                                                   Page 1 of 5
	
    Case 2:18-cv-03869-JAK-JEM Document 14 Filed 06/06/18 Page 2 of 5 Page ID #:226

                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA


                                          CIVIL MINUTES – GENERAL

    Case No.      LA CV18-03869 JAK (JEM)                                         Date   June 6, 2018
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On June 8, 2016, Plaintiff filed a second action that was substantially similar. Juliana Lu v. Central Bank
of Republic of China Taiwan, et al., LA CV16-04051 JAK (AJW) (“Second Action”). The Second Action
was dismissed with prejudice because it was a successive, duplicative action arising from the same
transactional nucleus of facts as presented in the First Action. Second Action, Dkt. 18.


III.        Analysis

            A.     Res Judicata

                   1.      Legal Standards

The doctrine of res judicata “bars all grounds for recovery which could have been asserted, whether they
were or not, in a prior suit between the same parties on the same cause of action.” Costantini v. Trans
World Airlines, 681 F.2d 1199, 1201 (9th Cir. 1982) (alterations omitted). “To preclude parties from
contesting matters that they have had a full and fair opportunity to litigate protects their adversaries from
the expense and vexation attending multiple lawsuits, conserves judicial resources, and fosters reliance
on judicial action by minimizing the possibility of inconsistent decisions.” Montana v. United States,
440 U.S. 147, 153-54 (1979). Furthermore, a party “does not avoid the bar of res judicata merely because
he now alleges conduct . . . not alleged in [the party’s] prior suit.” Costantini, 681 F.2d at 1201. Several
factors are considered to determine whether a later action is successive and barred:

            (1) whether rights or interests established in the prior judgment would be destroyed or
            impaired by prosecution of the second action; (2) whether substantially the same evidence
            is presented in the two actions; (3) whether the two suits involve infringement of the same
            right; and (4) whether the two suits arise out of the same transactional nucleus of facts.

Id. at 1201-02 (quoting Harris v. Jacobs, 621 F.2d 341, 343 (9th Cir. 1980)). The final factor is given the
most weight in performing the analysis. Id. at 1202.

                   2.      Application

The responses filed by Plaintiff fail to show that this action is not a successive and duplicative of the First
and Second Actions. All three arise out of a common nucleus of facts. The core of these allegations is that
Central R.O.C. Bank allegedly refused to honor and redeem certain bonds owned by Plaintiff. In each
action it is alleged that the R.O.C. was not the official government of Taiwan until 1952. Therefore, it is
alleged in each that the R.O.C. has unlawfully refused to release funds to her and thereby recognize and
redeem her bonds. It is also alleged that these bonds were issued to her family and other Taiwanese
citizens in 1949.

Plaintiff appears to concede that the three actions are related. Plaintiff states that the First and Second
Actions were dismissed because “the District Court mistakenly interpreted the Republic of China as a
country,” and provided it with broad immunity under FSIA. Dkt. 12 ¶ 4. Plaintiff also notes that the First
Action was dismissed because there was no evidence that the claims that were advanced related to
economic activity with an effect within the United States. This is the basis for an exception to sovereign
immunity under the FSIA, 28 U.S.C. §§ 1604 et seq. As she did in the Second Action, Plaintiff avers that
                                                                                                    Page 2 of 5
	
    Case 2:18-cv-03869-JAK-JEM Document 14 Filed 06/06/18 Page 3 of 5 Page ID #:227

                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA


                                          CIVIL MINUTES – GENERAL

    Case No.      LA CV18-03869 JAK (JEM)                                         Date   June 6, 2018
    Title         Juliana Lu v. Central Bank of Republic of China Taiwan et al.
	
she can demonstrate that her claims are ones that have an effect on the United States economy because
the 2013 shutdown of the federal government was due to the filing of the First Action. Plaintiff also
contends that the brief shutdown of the federal government in 2018 was a result of the First and Second
Actions. Plaintiff’s response to the OSC confirms that this is a successive and duplicative action in which
Plaintiff seeks leave to litigate the same claims for the third time.

The Hypothec Bank of Japan is named as a defendant in this action, but was not named in either of the
prior ones. This does not change the outcome. All of the allegations in this action about the conduct of this
defendant involve the “infringement of the same right” and “the same transactional nucleus of facts” that
were presented in the First and Second Actions. Indeed, Plaintiff largely concedes this point. Further,
there is no showing that Plaintiff could not have named this defendant in the First Action.

Finally, Plaintiff states that she filed a related action in a state court in Nevada and that a ruling issued
there shows that there is jurisdiction in this District over the present action. Dkt. 12 ¶ 21. She states that
the Nevada court “specifically notified [her] . . . on March 20, 2018” that there is jurisdiction over this
action in Los Angeles, California “because of where Plaintiff resides.” Id. The context for this claimed
statement is not provided. Therefore, it provides no basis for a renewal of the prior proceedings or
vacating the separate order that terminated each of them.

For these reasons, this action is DISMISSED with prejudice.

            B.     Pre-Filing Approval

                   1.      Legal Standards

“District courts have the inherent power to file restrictive pre-filing orders against vexatious litigants with
abusive and lengthy histories of litigation.” Weissman v. Quail Lodge, Inc., 179 F.3d 1194, 1197 (9th Cir.
1999) (citing De Long v. Hennessey, 912 F.2d 1144, 1147-48 (9th Cir. 1990)). “Such pre-filing orders may
enjoin the litigant from filing further actions or papers unless he or she first meets certain requirements,
such as obtaining leave of the court or filing declarations that support the merits of the case.” Id. (citing
O’Laughlin v. Doe, 920 F.2d 614, 616 (9th Cir. 1990) (requiring pro se inmate deemed vexatious litigant
to show good cause for leave to file future actions)); De Long, 912 F.2d at 1146-47 (prohibiting filings by
pro se litigant proceeding in forma pauperis without prior leave)). The Ninth Circuit has recognized that
“such pre-filing orders should rarely be filed.” De Long, 912 F.2d at 1147. However, “[f]lagrant abuse of
the judicial process cannot be tolerated because it enables one person to preempt the use of judicial time
that properly could be used to consider the meritorious claims of other litigants.” Id. at 1148.

In assessing whether a party should be deemed a vexatious litigant, a court is to consider the following:

            When district courts seek to impose pre-filing restrictions, they must: (1) give litigants
            notice and an opportunity to oppose the order before it [is] entered; (2) compile an
            adequate record for appellate review, including a listing of all the cases and motions that
            led the district court to conclude that a vexatious litigant order was needed; (3) make
            substantive findings of frivolousness or harassment; and (4) tailor the order narrowly so as
            to closely fit the specific vice encountered.

                                                                                                     Page 3 of 5
	
    Case 2:18-cv-03869-JAK-JEM Document 14 Filed 06/06/18 Page 4 of 5 Page ID #:228

                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA


                                        CIVIL MINUTES – GENERAL

    Case No.     LA CV18-03869 JAK (JEM)                                         Date   June 6, 2018
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Ringgold-Lockhart v. County of Los Angeles, 761 F.3d 1057, 1062 (9th Cir. 2014) (internal quotation
marks omitted).

One purpose of the Local Rules of this District is “to discourage vexatious litigation and to provide
persons who are subjected to vexatious litigation with security against the costs of defending against
such litigation and appropriate orders to control such litigation.” L.R. 83-8.1. Therefore, a bench officer
may, sua sponte, conclude that a party is a vexatious litigant, provided that the party has an opportunity to
be heard on the issue. Based on a review of any response and other relevant information, where
warranted by the governing standards, the bench officer may direct the Court Clerk not to accept further
filings from the party “without written authorization from a judge of the Court or a Magistrate Judge, issued
upon such showing of the evidence supporting the claim as the judge may require.” L.R. 83-8.2. Any such
order must be “based on a finding that the litigant to whom the order is issued has abused the Court’s
process and is likely to continue such abuse, unless protective measures are taken.” L.R. 83-8.3.

                   2.     Application

Plaintiff has not shown why these successive actions, which have consumed substantial and
unnecessary judicial resources, are not redundant and without a legal basis. Access to justice is
important. However, baseless and repetitive claims are not. See 28 U.S.C. § 1651(a); De Long, 912 F.3d
at 1147; Ringgold-Lockhart, 761 F.3d at 1062; L.R. 83-8.1. Plaintiff has abused the judicial process by
bringing the same action for the third time. Therefore, it has been shown that this conduct is likely to
continue absent the imposition of appropriate, restrictive measures.

For the reasons stated in this and the orders issued in the First and Second Actions, Plaintiff is declared
a vexatious litigant with respect to all proceedings in this District concerning the matters alleged in the
three actions. Therefore, injunctive relief is necessary and appropriate to prevent an abuse of the judicial
process and an unnecessary expenditure of judicial resources. Any complaint or other pleading proffered
by Plaintiff with respect to the matters at issue in any of the three proceedings shall be presented for
pre-filing review by a Magistrate Judge. Unless and until that Magistrate Judge approves the filing of the
pleading by determining that it has merit, the Court Clerk shall not accept the filing. That restriction
applies to any proffered pleading that concerns the same nucleus of operative, alleged facts that have
been presented in the following actions:

           Juliana Lu v. Central Bank of Republic of China Taiwan, et al., LA CV12-00317 JAK (RZx);
           Juliana Lu v. Central Bank of Republic of China Taiwan, et al., LA CV16-04051 JAK (AJW); and
           Juliana Lu v. Central Bank of Republic of China Taiwan, et al., LA CV18-03869 JAK (JEM).

All documents proffered for filing by Plaintiff that are within the scope of this Order shall include the
following statement in the caption, in the following font: “THIS FILING IS SUBJECT TO A VEXATIOUS
LITIGANT PRE-FILING ORDER.” Should Plaintiff violate this Order by failing to present for pre-filing
review a pleading as to which that is required, the vexatious litigant order may be expanded to include
any matter proffered by Plaintiff for filing in this District.




                                                                                                   Page 4 of 5
	
    Case 2:18-cv-03869-JAK-JEM Document 14 Filed 06/06/18 Page 5 of 5 Page ID #:229

                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA


                                       CIVIL MINUTES – GENERAL

    Case No.    LA CV18-03869 JAK (JEM)                                         Date    June 6, 2018
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IV.         Conclusion

For the reasons stated in this Order, this action is DISMISSED with prejudice, and Plaintiff is deemed a
vexatious litigant on the terms stated above.

IT IS SO ORDERED.
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                                                           Initials of Preparer    ak




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